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                           EXHIBIT A
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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA


   IN THE MATTER OF THE SEARCH OF:                       )
                                                         )      Case No.
   LOCATIONS WITHIN THE PREMISES                         )
   TO BE SEARCHED IN ATTACHMENT A                        )      Filed Under Seal


                                AFFIDAVIT IN SUPPORT OF AN
                              APPLICATION UNDER RULE 41 FOR A
                               WARRANT TO SEARCH AND SEIZE

              I,                  , being first duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND AGENT BACKGROUND

         1.        The government is conducting a criminal investigation concerning the improper

  removal and storage of classified information in unauthorized spaces, as well as the unlawful

  concealment or removal of government records. The investigation began as a result of a referral

  the United States National Archives and Records Administration (NARA) sent to the United

  States Department of Justice (DOJ) on February 9, 2022, hereinafter, “NARA Referral.” The

  NARA Referral stated that on January 18, 2022, in accordance with the Presidential Records Act

  (PRA), NARA received from the office of former President DONALD J. TRUMP, hereinafter

  “FPOTUS,” via representatives, fifteen (15) boxes of records, hereinafter, the “FIFTEEN

  BOXES.” The FIFTEEN BOXES, which had been transported from the FPOTUS property at

  1100 S Ocean Blvd, Palm Beach, FL 33480, hereinafter, the “PREMISES,” a residence and club

  known as “Mar-a-Lago,” further described in Attachment A, were reported by NARA to contain,

  among other things, highly classified documents intermingled with other records.

         2.        After an initial review of the NARA Referral, the Federal Bureau of Investigation

  (FBI) opened a criminal investigation to, among other things, determine how the documents with




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  classification markings and records were removed from the White House (or any other authorized

  location(s) for the storage of classified materials) and came to be stored at the PREMISES;

  determine whether the storage location(s) at the PREMISES were authorized locations for the

  storage of classified information; determine whether any additional classified documents or

  records may have been stored in an unauthorized location at the PREMISES or another unknown

  location, and whether they remain at any such location; and identify any person(s) who may have

  removed or retained classified information without authorization and/or in an unauthorized space.

          3.        The FBI’s investigation has established that documents bearing classification

  markings, which appear to contain National Defense Information (NDI), were among the

  materials contained in the FIFTEEN BOXES and were stored at the PREMISES in an

  unauthorized location. Since the FIFTEEN BOXES were provided to NARA, additional

  documents bearing classification markings, which appear to contain NDI and were stored at the

  PREMISES in an unauthorized location, have been produced to the government in response to a

  grand jury subpoena directed to FPOTUS’s post-presidential office and seeking documents

  containing classification markings stored at the PREMISES and otherwise under FPOTUS’s

  control. Further, there is probable cause to believe that additional documents that contain

  classified NDI or that are Presidential records subject to record retention requirements currently

  remain at the PREMISES. There is also probable cause to believe that evidence of obstruction

  will be found at the PREMISES.

          4.        I am a Special Agent with the FBI assigned to the Washington Field Office

                                                          . During this time, I have received training

  at the FBI Academy located at Quantico, Virginia, specific to counterintelligence and espionage

  investigations.                                                                                      .




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  Based on my experience and training, I am familiar with efforts used to unlawfully collect, retain,

  and disseminate sensitive government information, including classified NDI.

          5.       I make this affidavit in support of an application under Rule 41 of the Federal

  Rules of Criminal Procedure for a warrant to search the premises known as 1100 S Ocean Blvd,

  Palm Beach, FL 33480, the “PREMISES,” as further described in Attachment A, for the things

  described in Attachment B.

          6.       Based upon the following facts, there is probable cause to believe that the locations

  to be searched at the PREMISES contain evidence, contraband, fruits of crime, or other items

  illegally possessed in violation of 18 U.S.C. §§ 793(e), 1519, or 2071.

                                       SOURCE OF EVIDENCE

          7.       The facts set forth in this affidavit are based on my personal knowledge,

  knowledge obtained during my participation in this investigation, and information obtained from

  other FBI and U.S. Government personnel. Because this affidavit is submitted for the limited

  purpose of establishing probable cause in support of the application for a search warrant, it does

  not set forth each and every fact that I, or others, have learned during the course of this

  investigation.

                          STATUTORY AUTHORITY AND DEFINITIONS

          8.       Under 18 U.S.C. § 793(e), “[w]hoever having unauthorized possession of, access

  to, or control over any document . . . or information relating to the national defense which

  information the possessor has reason to believe could be used to the injury of the United States or

  to the advantage of any foreign nation, willfully communicates, delivers, transmits or causes to be

  communicated, delivered, or transmitted” or attempts to do or causes the same “to any person not

  entitled to receive it, or willfully retains the same and fails to deliver it to the officer or employee




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  of the United States entitled to receive it” shall be fined or imprisoned not more than ten years, or

  both.

          9.     Under Executive Order 13526, information in any form may be classified if it: (1)

  is owned by, produced by or for, or is under the control of the United States Government; (2) falls

  within one or more of the categories set forth in the Executive Order [Top Secret, Secret, and

  Confidential]; and (3) is classified by an original classification authority who determines that its

  unauthorized disclosure reasonably could be expected to result in damage to the national security.

          10.    Where such unauthorized disclosure could reasonably result in damage to the

  national security, the information may be classified as “Confidential” and must be properly

  safeguarded. Where such unauthorized disclosure could reasonably result in serious damage to

  the national security, the information may be classified as “Secret” and must be properly

  safeguarded. Where such unauthorized disclosure could reasonably result in exceptionally grave

  damage to the national security, the information may be classified as “Top Secret” and must be

  properly safeguarded.

          11.    Sensitive Compartmented Information (SCI) means classified information

  concerning or derived from intelligence sources, methods, or analytical processes, which is

  required to be handled within formal access control systems.

          12.    Special Intelligence, or “SI,” is an SCI control system designed to protect technical

  and intelligence information derived from the monitoring of foreign communications signals by

  other than the intended recipients. The SI control system protects SI-derived information and

  information relating to SI activities, capabilities, techniques, processes, and procedures.

          13.    HUMINT Control System, or “HCS,” is an SCI control system designed to protect

  intelligence information derived from clandestine human sources, commonly referred to as




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  “human intelligence.” The HCS control system protects human intelligence-derived information

  and information relating to human intelligence activities, capabilities, techniques, processes, and

  procedures.

          14.    Foreign Intelligence Surveillance Act, or “FISA,” is a dissemination control

  designed to protect intelligence information derived from the collection of information authorized

  under the Foreign Intelligence Surveillance Act by the Foreign Intelligence Surveillance Court, or

  “FISC.”

          15.    Classified information may be marked as “Not Releasable to Foreign

  Nationals/Governments/US Citizens,” abbreviated “NOFORN,” to indicate information that may

  not be released in any form to foreign governments, foreign nationals, foreign organizations, or

  non-U.S. citizens without permission of the originator.

          16.    Classified information may be marked as “Originator Controlled,” abbreviated

  “ORCON.” This marking indicates that dissemination beyond pre-approved U.S. entities requires

  originator approval.

          17.    Classified information of any designation may be shared only with persons

  determined by an appropriate United States Government official to be eligible for access, and who

  possess a “need to know.” Among other requirements, in order for a person to obtain a security

  clearance allowing that person access to classified United States Government information, that

  person is required to and must agree to properly protect classified information by not disclosing

  such information to persons not entitled to receive it, by not unlawfully removing classified

  information from authorized storage facilities, and by not storing classified information in

  unauthorized locations. If a person is not eligible to receive classified information, classified

  information may not be disclosed to that person. In order for a foreign government to receive




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  access to classified information, the originating United States agency must determine that such

  release is appropriate.

          18.     Pursuant to Executive Order 13526, classified information contained on automated

  information systems, including networks and telecommunications systems, that collect, create,

  communicate, compute, disseminate, process, or store classified information must be maintained

  in a manner that: (1) prevents access by unauthorized persons; and (2) ensures the integrity of the

  information.

          19.     32 C.F.R. Parts 2001 and 2003 regulate the handling of classified information.

  Specifically, 32 C.F.R. § 2001.43, titled “Storage,” regulates the physical protection of classified

  information. This section prescribes that Secret and Top Secret information “shall be stored in a

  [General Services Administration]-approved security container, a vault built to Federal Standard

  (FHD STD) 832, or an open storage area constructed in accordance with § 2001.53.” It also

  requires periodic inspection of the container and the use of an Intrusion Detection System, among

  other things.

          20.     Under 18 U.S.C. § 1519:

         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or
         makes a false entry in any record, document, or tangible object with the intent to
         impede, obstruct, or influence the investigation or proper administration of any
         matter within the jurisdiction of any department or agency of the United States or
         any case filed under title 11, or in relation to or contemplation of any such matter
         or case, shall be fined under this title, imprisoned not more than 20 years, or both.

          21.     Under 18 U.S.C. § 2071:

         (a) Whoever willfully and unlawfully conceals, removes, mutilates, obliterates, or
         destroys, or attempts to do so, or, with intent to do so takes and carries away any
         record, proceeding, map, book, paper, document, or other thing, filed or deposited
         with any clerk or officer of any court of the United States, or in any public office,
         or with any judicial or public officer of the United States, shall be fined under this
         title or imprisoned not more than three years, or both.




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       (b) Whoever, having the custody of any such record, proceeding, map, book,
       document, paper, or other thing, willfully and unlawfully conceals, removes,
       mutilates, obliterates, falsifies, or destroys the same, shall be fined under this title
       or imprisoned not more than three years, or both; and shall forfeit his office and be
       disqualified from holding any office under the United States. As used in this
       subsection, the term “office” does not include the office held by any person as a
       retired officer of the Armed Forces of the United States.

       22.     Under the PRA, 44 U.S.C. § 2201:

       (2) The term “Presidential records” means documentary materials, or any
       reasonably segregable portion thereof, created or received by the President, the
       President’s immediate staff, or a unit or individual of the Executive Office of the
       President whose function is to advise or assist the President, in the course of
       conducting activities which relate to or have an effect upon the carrying out of the
       constitutional, statutory, or other official or ceremonial duties of the President.
       Such term—

              (A) includes any documentary materials relating to the political activities of
                  the President or members of the President’s staff, but only if such
                  activities relate to or have a direct effect upon the carrying out of
                  constitutional, statutory, or other official or ceremonial duties of the
                  President; but

              (B) does not include any documentary materials that are (i) official records
                  of an agency (as defined in section 552(e) of title 5, United States
                  Code; (ii) personal records; (iii) stocks of publications and stationery;
                  or (iv) extra copies of documents produced only for convenience of
                  reference, when such copies are clearly so identified.

       23.     Under 44 U.S.C. § 3301(a), government “records” are defined as:

       all recorded information, regardless of form or characteristics, made or received by
       a Federal agency under Federal law or in connection with the transaction of public
       business and preserved or appropriate for preservation by that agency or its
       legitimate successor as evidence of the organization, functions, policies, decisions,
       procedures, operations, or other activities of the United States Government or
       because of the informational value of data in them.


                                       PROBABLE CAUSE

                                           NARA Referral

        24.    On February 9, 2022, the Special Agent in Charge of NARA’s Office of the




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  Inspector General sent the NARA Referral via email to DOJ. The NARA Referral stated that

  according to NARA’s White House Liaison Division Director, a preliminary review of the

  FIFTEEN BOXES indicated that they contained “newspapers, magazines, printed news articles,

  photos, miscellaneous print-outs, notes, presidential correspondence, personal and post-

  presidential records, and ‘a lot of classified records.’ Of most significant concern was that highly

  classified records were unfoldered, intermixed with other records, and otherwise unproperly [sic]

  identified.”

          25.    On February 18, 2022, the Archivist of the United States, chief administrator for

  NARA, stated in a letter to Congress’s Committee on Oversight and Reform Chairwoman The

  Honorable Carolyn B. Maloney, “NARA had ongoing communications with the representatives of

  former President Trump throughout 2021, which resulted in the transfer of 15 boxes to NARA in

  January 2022 . . . . NARA has identified items marked as classified national security information

  within the boxes.” The letter also stated that, “[b]ecause NARA identified classified information

  in the boxes, NARA staff has been in communication with the Department of Justice.” The letter

  was made publicly available at the following uniform resource locator (URL):

  https://www.archives.gov/files/foia/ferriero-response-to-02.09.2022-maloney-

  letter.02.18.2022.pdf. On February 18, 2022, the same day, the Save America Political Action

  Committee (PAC) posted the following statement on behalf of FPOTUS: “The National Archives

  did not ‘find’ anything, they were given, upon request, Presidential Records in an ordinary and

  routine process to ensure the preservation of my legacy and in accordance with the Presidential

  Records Act . . . .” An image of this statement is below.




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       26.




       27.




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         28.




                              . It was FPOTUS’s practice to store accumulated documents in

 boxes, and that continues to be his practice.




         29.




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     Boxes Containing Documents Were Transported from the White House to Mar-a-Lago

        30.    According to a CBS Miami article titled “Moving Trucks Spotted At Mar-a-Lago,”

 published Monday, January 18, 2021, at least two moving trucks were observed at the PREMISES

 on January 18, 2021.




        31.




        32.




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        33.




        34.    Between January 21, 2021, and late August 2021, the FPOTUS BOXES were

 stored in at least two different rooms within the PREMISES.




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        35.

                                                             The door to the STORAGE ROOM

 was painted gold and had no other markings on it. The door to the STORAGE ROOM is located

 approximately mid-way up the wall and is reachable by several wooden stairs.

        36.    In addition to the approximately eighty-five to ninety-five FPOTUS BOXES

 located in the STORAGE ROOM, there were also other boxes in the STORAGE ROOM with

 merchandise such as challenge coins, garment bags, memorabilia from Mar-a-Lago such as

 photograph frames, and other décor items.

        37.




                            Provision of the Fifteen Boxes to NARA

        38.




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 anteroom to FPOTUS’s personal residential suite.

        40.



        41.




        42.




        43.



        44.




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       45.




       46.




      The purpose of the photograph was to show FPOTUS the volume of boxes that remained in

 the STORAGE ROOM. The STORAGE-PHOTO, which appears below, captures approximately

 sixty-one of the FPOTUS BOXES located in the STORAGE ROOM:




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 The return date of the subpoena was May 24, 2022. DOJ COUNSEL also sent FPOTUS

 COUNSEL 1 a letter that permitted alternative compliance with the subpoena by “providing any

 responsive documents to the FBI at the place of their location” and by providing from the

 custodian a “sworn certification that the documents represent all responsive records.” The letter

 further stated that if no responsive documents existed, the custodian should provide a sworn

 certification to that effect.

         52.     On May 25, 2022, while negotiating for an extension of the subpoena, FPOTUS

 COUNSEL 1 sent two letters to DOJ COUNSEL. In the second such letter, which is attached as

 Exhibit 1, FPOTUS COUNSEL 1 asked DOJ to consider a few “principles,” which include

 FPOTUS COUNSEL 1’s claim that a President has absolute authority to declassify documents. In

 this letter, FPOTUS COUNSEL 1 requested, among other things, that “DOJ provide this letter to

 any judicial officer who is asked to rule on any motion pertaining to this investigation, or on any

 application made in connection with any investigative request concerning this investigation.”

         53.     I am aware of an article published in Breitbart on May 5, 2022, available at

 https://www.breitbart.com/politics/2022/05/05/documents-mar-a-lago-marked-classified-were-

 already-declassified-kash-patel-says/, which states that Kash Patel, who is described as a former

 top FPOTUS administration official, characterized as “misleading” reports in other news

 organizations that NARA had found classified materials among records that FPOTUS provided to

 NARA from Mar-a-Lago. Patel alleged that such reports were misleading because FPOTUS had

 declassified the materials at issue.




         54.




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         55.    After an extension was granted for compliance with the subpoena, on the evening

 of June 2, 2022, FPOTUS COUNSEL 1 contacted DOJ COUNSEL and requested that FBI agents

 meet him the following day to pick up responsive documents. On June 3, 2022, three FBI agents

 and DOJ COUNSEL arrived at the PREMISES to accept receipt of the materials. In addition to

 FPOTUS COUNSEL 1, another individual, hereinafter “INDIVIDUAL 2,” was also present as the

 custodian of records for FPOTUS’s post-presidential office. The production included a single

 Redweld envelope, wrapped in tape, containing documents. FPOTUS COUNSEL 1 relayed that

 the documents in the Redweld envelope were found during a review of the boxes located in the

 STORAGE ROOM. INDIVIDUAL 2 provided a Certification Letter, signed by INDIVIDUAL 2,

 which stated the following:

         Based upon the information that has been provided to me, I am authorized to certify, on
         behalf of the Office of Donald J. Trump, the following: a. A diligent search was
         conducted of the boxes that were moved from the White House to Florida; b. This search
         was conducted after receipt of the subpoena, in order to locate any and all documents that
         are responsive to the subpoena; c. Any and all responsive documents accompany this
         certification; and d. No copy, written notation, or reproduction of any kind was retained as
         to any responsive document.

         56.    During receipt of the production, FPOTUS COUNSEL 1 stated he was advised all




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 the records that came from the White House were stored in one location within Mar-a-Lago, the

 STORAGE ROOM, and the boxes of records in the STORAGE ROOM were “the remaining

 repository” of records from the White House. FPOTUS COUNSEL 1 further stated he was not

 advised there were any records in any private office space or other location in Mar-a-Lago. The

 agents and DOJ COUNSEL were permitted to see the STORAGE ROOM and observed that

 approximately fifty to fifty-five boxes remained in the STORAGE ROOM. Considering that only

 FIFTEEN BOXES had been provided to NARA of the approximately eighty-five to ninety-five

 FPOTUS BOXES that had been located in the STORAGE ROOM, it appears that approximately

 fifteen to thirty of the FPOTUS BOXES had previously been relocated elsewhere. The FBI

 agents also observed that the composition of boxes differed such that fewer Bankers boxes were

 visible, while more plain cardboard boxes and storage bins were present. Other items were also

 present in the STORAGE ROOM, including a coat rack with suit jackets, as well as interior décor

 items such as wall art and frames.

         57.




         58.    A preliminary review of the documents contained in the Redweld envelope

 produced pursuant to the grand jury subpoena revealed the following approximate numbers: 38

 unique documents bearing classification markings, including 5 documents marked as

 CONFIDENTIAL, 16 documents marked as SECRET, and 17 documents marked as TOP

 SECRET. Further, the FBI agents observed markings reflecting the following

 caveats/compartments, among others: HCS, SI, and FISA. Based on my training and experience, I

 know that documents classified at these levels typically contain NDI. Multiple documents also




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 contained what appears to be FPOTUS’s handwritten notes.

          59.      Notably, although the FIFTEEN BOXES provided to NARA contained

 approximately 184 unique documents with classification markings, only approximately 38 unique

 documents with classification markings were produced from the remaining FPOTUS BOXES.

          60.      When producing the documents, neither FPOTUS COUNSEL 1 nor INDIVIDUAL

 2 asserted that FPOTUS had declassified the documents.2 The documents being in a Redweld

 envelope wrapped in tape appears to be consistent with an effort to handle the documents as if

 they were still classified.

          61.      On June 8, 2022, DOJ COUNSEL sent FPOTUS COUNSEL 1 a letter, which

 reiterated that the PREMISES are not authorized to store classified information and requested the

 preservation of the STORAGE ROOM and boxes that had been moved from the White House to

 the PREMISES. Specifically, the letter stated in relevant part:

          As I previously indicated to you, Mar-a-Lago does not include a secure location
          authorized for the storage of classified information. As such, it appears that since the time
          classified documents (the ones recently provided and any and all others) were removed
          from the secure facilities at the White House and moved to Mar-a-Lago on or around
          January 20, 2021, they have not been handled in an appropriate manner or stored in an
          appropriate location. Accordingly, we ask that the room at Mar-a-Lago where the
          documents had been stored be secured and that all of the boxes that were moved from the
          White House to Mar-a-Lago (along with any other items in that room) be preserved in that
          room in their current condition until further notice.



 2
  18 U.S.C. § 793(e) does not use the term “classified information,” but rather criminalizes the unlawful retention of
 “information relating to the national defense.” The statute does not define “information related to the national
 defense,” but courts have construed it broadly. See Gorin v. United States, 312 U.S. 19, 28 (1941) (holding that the
 phrase “information relating to the national defense” as used in the Espionage Act is a “generic concept of broad
 connotations, referring to the military and naval establishments and the related activities of national preparedness”).
 In addition, the information must be “closely held” by the U.S. government. See United States v. Squillacote, 221
 F.3d 542, 579 (4th Cir. 2000) (“[I]nformation made public by the government as well as information never protected
 by the government is not national defense information.”); United States v. Morison, 844 F.2d 1057, 1071-72 (4th Cir.
 1988). Certain courts have also held that the disclosure of the documents must be potentially damaging to the United
 States. See Morison, 844 F.2d at 1071-72.




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 On June 9, 2022, FPOTUS COUNSEL 1 sent an email to DOJ COUNSEL, stating, “I write to

 acknowledge receipt of this letter.”


 Surveillance Camera Footage Shows Boxes Being Removed from the Storage Room Area Prior
               to FPOTUS Counsel 1’s Review in Connection With the Subpoena

         62.    DOJ COUNSEL has advised me that on or about June 22, 2022, counsel for the

 Trump Organization, a group of business entities associated with FPOTUS, confirmed that the

 Trump Organization maintains security cameras in the vicinity of the STORAGE ROOM and that

 on June 24, 2022, counsel for the Trump Organization agreed to accept service of a grand jury

 subpoena for footage from those cameras.

         63.    The subpoena was served on counsel on June 24, 2022, directed to the Custodian

 of Records for the Trump Organization, and sought:

         Any and all surveillance records, videos, images, photographs, and/or CCTV from
         internal cameras located on ground floor (basement)
               on the Mar-a-Lago property located at 1100 S Ocean Blvd., Palm Beach, FL 33480
         from the time period of January 10, 2022 to present.

         64.    On July 6, 2022, in response to this subpoena, representatives of the Trump

 Organization provided a hard drive to FBI agents.



                                                                                      Upon review

 of the hard drive, the FBI determined that the drive contained video footage from four cameras in

 the basement hallway of the PREMISES in which the door to the STORAGE ROOM is located.

 The footage on the drive begins on April 23, 2022, and ends on June 24, 2022. The recording

 feature of the cameras appears to be motion activated, so that footage is only captured when

 motion is detected within each camera’s field of view.




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         65.    One camera in particular, identified on the hard drive as “South Tunnel Liquor,”

 provides a view of entry and exit into a room (hereafter ANTEROOM) that leads to the

 STORAGE ROOM. The doorway to the ANTEROOM itself is not visible in the camera view, as

 a refrigerator is directly between the camera and doorway, but the footage from this camera

 nonetheless establishes entry and exit to the ANTEROOM because it is apparent when persons

 within the camera’s field of view turn directly behind the refrigerator and then disappear from

 view. The ANTEROOM, in addition to its entrance from the South Tunnel, has approximately

 four doors leading off it, one of which is the gold-painted door that leads to the STORAGE

 ROOM. The ANTEROOM provides the only entrance to the STORAGE ROOM; however, other

 offices can also be entered from the ANTEROOM, so it might be possible for persons to enter the

 STORAGE ROOM from those other offices without being visible in the surveillance camera

 footage.

         66.    By reviewing the camera footage provided by the Trump Organization in response

 to the subpoena, the FBI has determined the following:

         On May 24, 2022, WITNESS 5 is observed exiting the ANTEROOM doorway with three
         boxes.

         On May 30, 2022, four days after WITNESS 5’s interview with the FBI during which the
         location of boxes was a significant subject of questioning, WITNESS 5 is observed
         exiting the ANTEROOM doorway with approximately fifty Bankers boxes, consistent
         with the description of the FPOTUS BOXES. FBI did not observe this quantity of boxes
         being returned to the STORAGE ROOM through the ANTEROOM entrance in its review
         of the footage.

         The next day, on June 1, 2022, WITNESS 5 is observed carrying eleven brown cardboard
         boxes out the ANTEROOM entrance. One box did not have a lid on it and appeared to
         contain papers.

         The day after that, on June 2, 2022, WITNESS 5 is observed moving twenty-five to thirty
         boxes, some of which were brown cardboard boxes and others of which were Bankers
         boxes consistent with the description of the FPOTUS BOXES, into the entrance of the




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        ANTEROOM. Approximately three and a half hours later, WITNESS 5 is observed
        escorting FPOTUS COUNSEL 1 in through the entrance of the ANTEROOM, and
        FPOTUS COUNSEL 1 is not observed leaving until approximately two and a half hours
        later.

        On June 3, 2022, FPOTUS COUNSEL 1 is escorted through the ANTEROOM entrance
        by an unidentified individual wearing a jacket with “USSS POLICE” printed on the back.
        The unidentified individual and FPOTUS COUNSEL 1 exit the ANTEROOM entrance
        moments later. FPOTUS COUNSEL 1 appeared to be carrying a Redweld envelope after
        exiting the ANTEROOM.

        67.   As described above, FPOTUS COUNSEL 1 contacted DOJ COUNSEL on June 2,

 2022, asking FBI agents to meet FPOTUS COUNSEL 1 the following day. As also described

 above, on June 3, 2022, FPOTUS COUNSEL 1 in response to a grand jury subpoena provided to

 FBI agents and DOJ COUNSEL a Redweld envelope containing documents bearing classification

 markings.

        68.




        69.




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 any other rooms or locations where boxes or records may be stored within the PREMISES, as

 further described in Attachment A. The PREMISES is currently closed to club members for the

 summer; however, as specified in Attachment A, if at the time of the search, there are areas of the

 PREMISES being occupied, rented, or used by third parties, and not otherwise used or available

 to be used by FPOTUS and his staff, the search would not include such areas.



                                         CONCLUSION

         79.    Based on the foregoing facts and circumstances, I submit that probable cause exists

 to believe that evidence, contraband, fruits of crime, or other items illegally possessed in violation

 18 U.S.C. §§ 793(e), 2071, or 1519 will be found at the PREMISES. Further, I submit that this

 affidavit supports probable cause for a warrant to search the PREMISES described in Attachment

 A and seize the items described in Attachment B.

                                    REQUEST FOR SEALING

        80.     It is respectfully requested that this Court issue an order sealing, until further order

 of the Court, all papers submitted in support of this application, including the application and

 search warrant. I believe that sealing this document is necessary because the items and

 information to be seized are relevant to an ongoing investigation and the FBI has not yet identified

 all potential criminal confederates nor located all evidence related to its investigation. Premature

 disclosure of the contents of this affidavit and related documents may have a significant and

 negative impact on the continuing investigation and may severely jeopardize its effectiveness by

 allowing criminal parties an opportunity to flee, destroy evidence (stored electronically and

 otherwise), change patterns of behavior, and notify criminal confederates.




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     SEARCH PROCEDURES FOR HANDLING POTENTIAL ATTORNEY-CLIENT
                     PRIVILEGED INFORMATION

        The following procedures will be followed at the time of the search in order to protect

 against disclosures of attorney-client privileged material:

        81.       These procedures will be executed by: (a) law enforcement personnel conducting

 this investigation (the “Case Team”); and (b) law enforcement personnel not participating in the

 investigation of the matter, who will search the “45 Office” and be available to assist in the event

 that a procedure involving potentially attorney-client privileged information is required (the

 “Privilege Review Team”).

        82.       The Case Team will be responsible for searching the TARGET PREMISES.

 However, the Privilege Review Team will search the “45 Office” and conduct a review of the seized

 materials from the “45 Office” to identify and segregate documents or data containing potentially

 attorney-client privileged information.

        83.       If the Privilege Review Team determines the documents or data are not potentially

 attorney-client privileged, they will be provided to the law-enforcement personnel assigned to the

 investigation.    If at any point the law-enforcement personnel assigned to the investigation

 subsequently identify any data or documents that they consider may be potentially attorney-client

 privileged, they will cease the review of such identified data or documents and refer the materials

 to the Privilege Review Team for further review by the Privilege Review Team.

        84.       If the Privilege Review Team determines that documents are potentially attorney-

 client privileged or merit further consideration in that regard, a Privilege Review Team attorney

 may do any of the following: (a) apply ex parte to the court for a determination whether or not the

 documents contain attorney-client privileged material; (b) defer seeking court intervention and




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                              EXHIBIT 1
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    ATTORNEYS AT LAW

                                                May 25, 2022

   Via Electronic Mail

   Jay I. Bratt, Esquire
   Chief
   Counterintelligence & Export Control Section
   National Security Division
   U.S. Department of Justice
   950 Pennsylvania, Avenue, N.W.
   Washington, D.C. 20530

                  Re:     Presidential Records Investigation

   Dear Jay:

   I write on behalf of President Donald J. Trump regarding the above-referenced matter.

   Public trust in the government is low. At such times, adherence to the rules and long-standing
   policies is essential. President Donald J. Trump is a leader of the Republican Party. The
   Department of Justice (DOJ), as part of the Executive Branch, is under the control of a President
   from the opposite party. It is critical, given that dynamic, that every effort is made to ensure that
   actions by DOJ that may touch upon the former President, or his close associates, do not involve
   politics.

   There have been public reports about an investigation by DOJ into Presidential Records
   purportedly marked as classified among materials that were once in the White House and
   unknowingly included among the boxes brought to Mar-a-Lago by the movers. It is important to
   emphasize that when a request was made for the documents by the National Archives and Records
   Administration (NARA), President Trump readily and voluntarily agreed to their transfer to
   NARA. The communications regarding the transfer of boxes to NARA were friendly, open, and
   straightforward. President Trump voluntarily ordered that the boxes be provided to NARA. No
   legal objection was asserted about the transfer. No concerns were raised about the contents of the
   boxes. It was a voluntary and open process.

   Unfortunately, the good faith demonstrated by President Trump was not matched once the boxes
   arrived at NARA. Leaks followed. And, once DOJ got involved, the leaks continued. Leaks about
   any investigation are concerning. Leaks about an investigation that involve the residence of a
   former President who is still active on the national political scene are particularly troubling.
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   It is important to note a few bedrock principles:

          (1) A President Has Absolute Authority To Declassify Documents.

   Under the U.S. Constitution, the President is vested with the highest level of authority when it
   comes to the classification and declassification of documents. See U.S. Const., Art. II, § 2 (“The
   President [is] Commander in Chief of the Army and Navy of the United States[.]”). His
   constitutionally-based authority regarding the classification and declassification of documents is
   unfettered. See Navy v. Egan, 484 U.S. 518, 527 (1988) (“[The President’s] authority to classify
   and control access to information bearing on national security . . . flows primarily from this
   constitutional investment of power in the President and exists quite apart from any explicit
   congressional grant.”).

          (2) Presidential Actions Involving Classified Documents Are Not Subject To Criminal
              Sanction.

   Any attempt to impose criminal liability on a President or former President that involves his actions
   with respect to documents marked classified would implicate grave constitutional separation-of-
   powers issues. Beyond that, the primary criminal statute that governs the unauthorized removal
   and retention of classified documents or material does not apply to the President. That statute
   provides, in pertinent part, as follows:

                  Whoever, being an officer, employee, contractor, or consultant of
                  the United States, and, by virtue of his office, employment, position,
                  or contract, becomes possessed of documents or materials
                  containing classified information of the United States, knowingly
                  removes such documents or materials without authority and with the
                  intent to retain such documents or materials at an unauthorized
                  location shall be fined under this title or imprisoned for not more
                  than five years, or both.

   18 U.S.C. § 1924(a). An element of this offense, which the government must prove beyond a
   reasonable doubt, is that the accused is “an officer, employee, contractor, or consultant of the
   United States.” The President is none of these. See Free Enter. Fund v. Pub. Co. Acct. Oversight
   Bd., 561 U.S. 477, 497–98 (2010) (citing U.S. Const., Art. II, § 2, cl. 2) (“The people do not vote
   for the ‘Officers of the United States.’”); see also Melcher v. Fed. Open Mkt. Comm., 644 F. Supp.
   510, 518–19 (D.D.C. 1986), aff’d, 836 F.2d 561 (D.C. Cir. 1987) (“[a]n officer of the United States
   can only be appointed by the President, by and with the advice and consent of the Senate, or by a
   court of law, or the head of a department. A person who does not derive his position from one of
   these sources is not an officer of the United States in the sense of the Constitution.”). Thus, the
   statute does not apply to acts by a President.



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          (3) DOJ Must Be Insulated From Political Influence.

   According to the Inspector General of DOJ, one of the top challenges facing the Department is the
   public perception that DOJ is influenced by politics. The report found that “[o]ne important
   strategy that can build public trust in the Department is to ensure adherence to policies and
   procedures designed to protect DOJ from accusations of political influence or partial application
   of the law.” See https://oig.justice.gov/reports/top-management-and-performance-challenges-
   facing-department-justice-2021 (last visited May 25, 2022). We request that DOJ adhere to long-
   standing policies and procedures regarding communications between DOJ and the White House
   regarding pending investigative matters which are designed to prevent political influence in DOJ
   decision-making.

          (4) DOJ Must Be Candid With Judges And Present Exculpatory Evidence.

   Long-standing DOJ policy requires that DOJ attorneys be candid in representations made to
   judges. Pursuant to those policies, we request that DOJ provide this letter to any judicial officer
   who is asked to rule on any motion pertaining to this investigation, or on any application made in
   connection with any investigative request concerning this investigation.

   The official policy of DOJ further requires that prosecutors present exculpatory evidence to a grand
   jury. Pursuant to that policy, we request that DOJ provide this letter to any grand jury considering
   evidence in connection with this matter, or any grand jury asked to issue a subpoena for testimony
   or documents in connection with this matter.

   Thank you for your attention to this request.

                                 With best regards,



                                 ________________
                                 M. Evan Corcoran


   cc:    Matthew G. Olsen
          Assistant Attorney General
          National Security Division
          Via Electronic Mail




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                                         ATTACHMENT A

                                       Property to be searched

         The premises to be searched, 1100 S Ocean Blvd, Palm Beach, FL 33480, is further

 described as a resort, club, and residence located near the intersection of Southern Blvd and S

 Ocean Blvd. It is described as a mansion with approximately 58 bedrooms, 33 bathrooms, on a

 17-acre estate. The locations to be searched include the “45 Office,” all storage rooms, and all

 other rooms or areas within the premises used or available to be used by FPOTUS and his staff

 and in which boxes or documents could be stored, including all structures or buildings on the

 estate. It does not include areas currently (i.e., at the time of the search) being occupied, rented,

 or used by third parties (such as Mar-a-Largo Members) and not otherwise used or available to be

 used by FPOTUS and his staff, such as private guest suites.




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                                         ATTACHMENT B

                                        Property to be seized

        All physical documents and records constituting evidence, contraband, fruits of crime, or

 other items illegally possessed in violation of 18 U.S.C. §§ 793, 2071, or 1519, including the

 following:

                a. Any physical documents with classification markings, along with any

 containers/boxes (including any other contents) in which such documents are located, as

 well as any other containers/boxes that are collectively stored or found together with the

 aforementioned documents and containers/boxes;

                b. Information, including communications in any form, regarding the

 retrieval, storage, or transmission of national defense information or classified material;

                c. Any government and/or Presidential Records created between January

 20, 2017, and January 20, 2021; or

                d. Any evidence of the knowing alteration, destruction, or concealment of

 any government and/or Presidential Records, or of any documents with classification

 markings.




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